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9                                     UNITED STATES DISTRICT COURT
10                                 NORTHERN DISTRICT OF CALIFORNIA
11                                        SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,                        )       No. CR 05-00568 VRW
13                                                    )
                Plaintiff,                            )
14                                                    )       STIPULATION AND [PROPOSED]
        v.                                            )       ORDER EXCLUDING TIME FROM
15                                                    )       SEPTEMBER 13, 2005 TO OCTOBER 11,
     FRANK TYRAN CLARK,                               )       2005 FROM THE SPEEDY TRIAL ACT
16                                                    )       CALCULATION (18 U.S.C.
           Defendant.                                 )       § 3161(h)(8)(A))
17   _________________________________                )
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20              The parties appeared before the Court on September 13, 2005 for arraignment. With the

21   agreement of the parties, and with the consent of the Defendant, the Court enters this order scheduling
22   an initial appearance before Chief District Judge Vaughn R. Walker on October 11, 2005, at 10:30
23   a.m., and documenting the exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A),
24   from September 13, 2005 to October 11, 2005. The parties agreed, and the Court found and held, as
25   follows:
26              1. The parties agreed to an exclusion of time under the Speedy Trial Act. The government has

27   not yet produced discovery to the Defendant, although it expects to do so shortly. The Defendant’s
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     STA EXCLUSION ORDER
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1    counsel will thereafter need time to review and analyze the written and non-written discovery. Failure
2    to grant the requested continuance would unreasonably deny defense counsel reasonable time
3    necessary for effective preparation, taking into account counsel’s need to review discovery and confer
4    with her client.
5            2. Given these circumstances, the Court found that the ends of justice served by excluding the
6    periods from September 13, 2005 to October 11, 2005, outweigh the best interest of the public and
7    the defendant in a speedy trial. Id. § 3161(h)(8)(A).
8            3. Accordingly, and with the consent of the defendant, the Court ordered that the periods from
9    September 13, 2005 to October 11, 2005, be excluded from Speedy Trial Act calculations under 18
10   U.S.C. § 3161(h)(8)(A) & (B)(iv).
11           IT IS SO ORDERED.
12

13   DATED: September 15, 2005

14                                                   ________________________________
                                                     THE HON. JOSEPH C. SPERO
15                                                   United States Magistrate Judge

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     STA EXCLUSION ORDER
     CR 05-00568 VRW                                    2
